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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

United States of America,                     )
                                              )
       vs.                                    )      NO. 21-cr-50041-1
                                              )
Dave Roberson,                                )
                                              )
                       Defendant.             )

                    AGREED PROTECTIVE ORDER GOVERNING
                 DISCLOSURE OF PERSONAL HEALTH INFORMATION

       Upon the Motion For Protective Order as verbally requested filed by Defendant Dave
Roberson, and pursuant to Fed. R. Crim. P. 16(d), this Honorable Court Hereby Finds as follows:
       A. That the Winnebago County Jail is now in possession of certain medical and mental
health records of the Defendant herein, Dave Roberson, and said Mental Health Records of Dave
Roberson constitute Protected Health Information as that term is defined by the Federal Health
Insurance Portability and Accessibility Act, and the regulations promulgated thereunder;
       B. That counsel for the Defendant Dave Roberson herein wishes to obtain and to utilize
during the Competency Hearing in this cause the following described medical and mental health
records of Dave Roberson now in the possession of the Winnebago County Sheriff: “Any and all
incident reports, and other documents detailing the actions and/or mental state of Dave Roberson
while in the Winnebago County Jail starting on or about June 24, 2021 to September 1, 2022”
hereinafter referred to as Mr. Roberson’s Mental Health Records;
       C. That (a) that the common law psychotherapist-patient privilege should not be extended
in this case because, in the interests of justice, the need for medical and mental health records
and outweighs Roberson’s privacy interest in those records and that (b) disclosure is not barred
by the Illinois Mental Health and Developmental Disabilities Confidentiality Act because
Roberson placed his mental health at issue by seeking a competency hearing.; and
       D. That, the Subpoena Duces Tecum issued hereunder to the Keeper of the Records of the
Winnebago County Sheriff's Office shall include a copy of this Order authorizing the Subpoena
and bear the following warning label:



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       “No person shall comply with a subpoena for mental health records or
       communications pursuant to Section 10 of the Mental Health and Developmental
       Disabilities Confidentiality Act, 740 ILCS 110/10, unless the subpoena is
       accompanied by a written order that authorizes the issuance of the subpoena and
       the disclosure of records or communications or by the written consent under
       Section 5 of that Act of the person whose records are being sought.”

       E. That any Subpoena issued pursuant to this Agreed Order shall direct the recipient of
the Subpoena to produce the requested records only in a sealed envelope to The Law Offices of
Michael J. Phillips, One Court Place, Room 404, Rockford, IL 61102 and not to any other
person or location;
       F. That any records provided to counsel after in camera review shall be marked as
“Confidential – Mental Health Records” and maintained as confidential by the recipient for use
only in connection with the competency hearing, and that any such records shall not be filed with
the Court except under seal or as directed by the Court, and that any such records shall be
returned to the Court for destruction or to the producing party at the conclusion of the
competency hearing; and
       G. That this Honorable Court has jurisdiction over the subject matter hereof and over the
parties hereto.

       IT IS HEREBY AGREED AND ORDERED as follows:

       1. The Defendant Dave Roberson is hereby authorized to issue a Subpoena Duces Tecum
to Keeper of the Records, Winnebago County Jail for Mr. Roberson’s Mental Health Records
which hereby qualify as Protected Health Information under the Federal Health Insurance
Portability And Accessibility Act (“HIPAA”);
       2. That any and all documents produced in response to the above Subpoena shall be
delivered in a sealed envelope to The Law Offices of Michael J. Phillips, One Court Place, Room
404, Rockford, IL 61102 and not to any other person or location and then Attorney Phillips shall
then deliver complete and accurate copies of said records produced to the Chambers of United
States Magistrate Judge Lisa A. Jensen and to the Office of the United States Attorney, both
located at 327 South Church Street, Rockford, IL;




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       3. That any records delivered by Attorney Phillips to Magistrate Judge Jensen and to
Assistant United States Attorney Ladd shall be marked as “Confidential – Mental Health
Records” and maintained as confidential by the recipient for use only in connection with the
competency hearing, and that any such records shall not be filed with the Court except under seal
or as directed by the Court, and that any such records shall be returned to the Court for
destruction or to the producing party at the conclusion of the competency hearing;
       4. That no party or attorney hereto shall utilize any of the information contained in said
document in any proceeding or for any purpose other than the Competency Hearing herein; and
       5. That at the conclusion of the Competency Hearing herein, the parties and their
attorneys shall return all copies of the documents released by this Honorable Court to the Court
for destruction or to the producing entity and shall not retain any electronic, paper or other copies
thereof.

ENTERED this 7th day of April, 2023

                                                             ______________________________
                                                             LISA A. JENSEN, Magistrate Judge


Approved as to form:

/s/ Michael Phillips                                 /s/ Robert Ladd
  Michael J. Phillips                                  Robert Ladd
 Attorney for Defendant                               Assistant U. S. Attorney




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